CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 1 of 21
CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 2 of 21
CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 3 of 21
CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 4 of 21
CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 5 of 21
CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 6 of 21
CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 7 of 21
CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 8 of 21
CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 9 of 21
CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 10 of 21
CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 11 of 21
CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 12 of 21
CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 13 of 21
CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 14 of 21
CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 15 of 21
CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 16 of 21
CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 17 of 21
CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 18 of 21
CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 19 of 21
CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 20 of 21
CASE 0:20-cv-02408-JRT-KMM Doc. 1-1 Filed 11/30/20 Page 21 of 21
